                       Case 07-10416-BLS                        Doc 5954             Filed 04/14/08               Page 1 of 4




                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


In re
                                                                           Chapter 11
NEW CENTURY TRS HOLDINGS,                                                  Case No. 07-10416-KJC, et seq.
INC., et al.,
                                                                           Objections due by: April 29, 2008, 4:00 p.m.
                                                                           Hearing Date: May 7, 2008, 10:00 a.m.
                                   Debtors.


                    MOTION FOR RELIEF FROM AUTOMATIC STAY UNDER
                 SECTION 362 OF THE BANKRUPTCY CODE WITH RESPECT TO
                REAL PROPERTY LOCATED AT 5166 S. 45TH ST., OMAHA, NE 68117

           Deutsche Bank Trust Company Americas, as Trustee and Custodian for HSBC Bank USA,

NA ACE 2006-NC1 by: Saxon Mortgage Services Inc. as its attorney-in-fact (“Movant”), by its

undersigned counsel, files this motion to terminate the automatic stay to exercise its rights against a

parcel of real property located at 5166 S. 45th St., Omaha, NE 68117 (the “Property”), and in

support hereof states as follows:

           1.          This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C.

§ 1409(a). The statutory basis for the relief requested in this motion is 11 U.S.C. §§ 362 and 105.

           2.          On April 2, 2007 (the “Petition Date”), New Century TRS Holdings and certain of its

affiliates (the “Debtors”) filed voluntary petitions for relief under Chapter 11 of the United States

Bankruptcy Code. Since the Petition Date, the Debtors have managed their affairs as debtors in

possession pursuant to 11 U.S.C. §§ 1107 and 1108.

           3.          On or about September 30, 2005, Kimberly Harvey (“Obligor”) executed and

delivered to New Century Mortgage Corporation a promissory note (the “Note”) in the principal




Movant: Deutsche Bank Trust Company Americas, as Trustee and Custodian for HSBC Bank USA, NA ACE 2006-NC1 by: Saxon Mortgage Services Inc. as its attorney-in-
fact
D&G Reference: 214238/NinaSub2
Property Address: 5166 S. 45th St., Omaha, NE 68117
                    Case 07-10416-BLS            Doc 5954        Filed 04/14/08         Page 2 of 4




amount of $92,000, plus interest at the rate of 7.50% per annum, attorneys’ fees, costs and late

charges to be paid over thirty (30) years.

           4.      To secure the repayment of the sums due under the Note, Obligor executed and

delivered to New Century Mortgage Corporation a mortgage, deed of trust, or comparable

instrument of security on the Property dated September 30, 2005 (the “Mortgage”).1

           5.      The Mortgage and Note were later transferred to Movant, and Movant is the present

holder of the Mortgage and Note.

           6.      Review of the title to the Property shows that one or more of the Debtors may hold a

lien junior to the Mortgage.

           7.      The Obligor is now in default under the Note, and Movant seeks to exercise its non-

bankruptcy rights and remedies with respect to the Note, including but not limited to enforcement of

its rights against the Mortgage.

           8.      Because the junior mortgage described in ¶ 6 above is subordinate to the Mortgage,

the Debtors have no equity in the Property.

           9.      Upon information and belief, the value of Movant’s claims against the Property may

be equal to or may exceed the value of the Property.

           10.     Because the junior mortgage described in ¶ 6 above adds little or no value to the

bankruptcy estate, the Property is not necessary for the Debtors’ reorganization.

           11.     Because the Debtors have no equity in the Property and the Property is not necessary

for an effective reorganization, relief from the automatic stay is appropriate under § 362(d)(2) of the

Bankruptcy Code to permit Movant to exercise its non-bankruptcy rights and remedies with respect

to the Mortgage.


1
    Copies of the Note and the Mortgage are available by contacting Movant’s counsel.



                                                           -2-
               Case 07-10416-BLS         Doc 5954       Filed 04/14/08    Page 3 of 4




         12.   Moreover, upon information and belief, the value of the Property is decreasing, or

not increasing at the same rate as the Obligor’s indebtedness under the Note is increasing.

Therefore, Movant’s interest in the Mortgage is not adequately protected.

         13.   Movant does not know whether the Property, including but not limited to Movant’s

interest in the Mortgage, is properly insured. Therefore, Movant’s interest in the Mortgage is not

adequately protected.

         14.   Movant does not know whether the Obligor is properly maintaining the physical

premises of the Property. Therefore, Movant’s interest in the Mortgage is not adequately protected.

         15.   A continued stay of Movant’s action against the Obligor and the Property will cause

Movant significant prejudice.

         16.   Therefore, cause exists to terminate the automatic stay to permit Movant to exercise

its non-bankruptcy rights and remedies with respect to the Mortgage pursuant to § 362(d)(1) of the

Bankruptcy Code.

         17.   Movant believes that this motion will be unopposed or entered upon consensual

terms.    A stay of any order granting this motion would, in such instance, be inappropriate.

Therefore, Movant is seeking relief from the stay provisions of Fed. R. Bankr. P. 4001(a)(3).

         18.   Copies of this motion and notice hereof has been served upon the Debtors, counsel

for the Debtor, counsel for the Committee, and counsel for the United States Trustee. In light of the

extremely high volume of similar motions being filed in this case and the fact that the parties most

likely to seek a position with respect to this motion are receiving notice, Movant believes that

limiting notice to these parties is appropriate and requests that the Court consider the merits of this

motion accordingly.




                                                  -3-
               Case 07-10416-BLS         Doc 5954       Filed 04/14/08    Page 4 of 4




       WHEREFORE, for the foregoing reasons, Movant respectfully requests that this Court enter

an Order terminating the automatic stay and allowing Movant to exercise its non-bankruptcy rights

and remedies as to the Property, including but not limited to foreclosure of the Mortgage, and

granting such other and further relief as this court deems just and proper.


Dated: April 13, 2008                         Respectfully submitted,
       Wilmington, Delaware
                                              DRAPER & GOLDBERG, PLLC


                                               /s/ Adam Hiller
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                                                  -4-
